
Maetin, J.
delivered the opinion of the court.
The plaintiff and appellant has called our attention to two bills of exception taken to the rejection of two depositions which she had taken and offered in evidence.
1. The defendants’ counsel objected to the reading of the first deposition on the ground that the first cross-interrogatory filed by the defendant, Latorre, in the following words: “ how did you come to the knowledge of each and every one of the facts above stated was not sufficiently answered by the witness in saying, “ I became acquainted with the facts as stated in my answers to the direct interrogatories, from my personal knowledge; having been acquainted with the circumstances of Sarah Turner ever since I can recollect.” The court sustained the objection on the ground “ that a general acquaintance of many years standing is not a means of accounting for the knowledge of particular facts.”
2. The second deposition was objected to on the ground that the first cross-interrogatory on behalf of Latorre was not sufficiently answered by the witness in saying, “ I became acquainted with the facts stated in my answers to the direct interrogarles from my own knowledge, to the best of my [76] belief.” The objection was sustained by the court.
It appears to us the court erred. We have carefully examined the answers to the direct interrogatories in both cases and compared them with the answer to the first cross-interrogatory complained of; and which have appeared to us sufficient. If the defendant thought he might have been benefited, by more particular and detailed answers, he should have endeavored to obtain them by a new commission, with more definite interrogatories propounded.
A new trial was prayed for by the plaintiff and appellant on the ground that proper and legal testimony was rejected as stated in the foregoing bills of exception; and also that of one of the jury becoming interested during the trial, by causing an execution to be levied on some of the slaves in contestation in the present suit.
There were other grounds set out in the application for a new trial; but *408either of those above stated, appear to be sufficient to support the motion and cause the case to be remanded.
It is therefore ordered, adjudged and decreed, that the judgment of the district court be annulled, avoided, and reversed; the verdict set aside; and the case remanded for further proceedings with directions to the judge a quo to admit in evidence the two depositions stated in the foregoing bills of ex-ooption ; the defendants and appellees paying the costs of the appeal.
